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                                                                           MEMO ENDORSED
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                    1                                                                                     MELTZERCHECK LLP
                                M'l   2 : fa 15 '                                                                    ATTORNEYS AT LAW

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                   JUDGE KAPLAN'S Cl-:/:;iv:3ERS


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VIA ECF AND HAND DELIVERY
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The Honorable Lewis A. Kaplan                                                                  DOC#:        -
United States District Court                                                                   DATE FILED:
Southern District ofNew York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007-1312

        Re: In re Weatherford Int'l Sec. Litig., Case No. 11 Civ. 1646 (LAK) (JCF)

Dear Judge Kaplan:

       We write on behalf of Settlement Class Representatives, American Federation of
Musicians and Employers' Pension Fund and Georgia Firefighters' Pension Fund in the above-
referenced action.

        On January 5, 2015, the Court issued its Memorandum and Order (ECF No. 283) (the
"Order") approving the Settlement, approving the Plan of Allocation, and granting, in part, Lead
Counsel's request for an award of attorneys' fees and reimbursement of litigation expenses. The
Order stated, in relevant part, that 50% of the approved attorney's fees and litigation expenses
were payable immediately and the remaining 50% were to be held pending further order of the
Court when the judgment becomes final and not subject to further appeal. On March 5, 2015,
one of the objectors to the settlement and the attorneys' fees in this case filed the only notice of
appeal of the Order. ECF No. 286.

        We are pleased to advise Your Honor that on May 20, 2015, the Second Circuit issued its
mandate dismissing the lone appeal in its entirety for failure to follow procedure in filing
appropriate and timely forms in connection with the appeal process. A copy of the mandate is
attached for the Court's convenience. As a result, the judgment is now final and no longer
subject to further appeal.

       In accordance with the Court's January 5, 2015 Order, we respectfully request that the
Court so order this letter or issue a separate order, thereby allowing the Settlement Class
Representatives and counsel to be paid the remaining amounts previously awarded by the Court.




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Honorable Lewis A. Kaplan
May 27,2015                                                                        KESSLERTOPAz~¥
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                                                                                                ATTORNEYS AT Lf,W




        We appreciate the Court's time and attention to this matter.

                                                  Respectfully submitted,




                                                   David Kessler, Esq.
                                                   Kessler Topaz Meltzer & Check, LLP




Enclosure
cc:     Peter A. Wald, Esq. (Defendants' Counsel)
        Curtis V. Trinka, Esq. (Liaison Counsel)




                                    LEWIS A. KAPLAN, US J

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